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                                                                FILED            LODGED


                                                               Sep 16 2022
                                                                CLERK U.S. DISTRICT COURT
                                                                   DISTRICT OF ARIZONA




09/09/2022             09/09/2022 11:30 AM         Residence



Robert V Figueroa III, Special Agent, HSI



 Fourteen (14) cell phones, Four scales, Twelve (12) tablets, Six (6) Laptops,
 Three (3) SD cards with USB drive reader, One (1) External hard drive, Two
 (2) Thumb drives, Drug paraphernalia, Paypal card reader, and Miscellaneous
 documents.




                                            ROBERT V              Digitally signed by ROBERT V
                                                                  FIGUEROA III
      09/15/2022                            FIGUEROA III          Date: 2022.09.15 23:32:37 -07'00'




                                            Robert V. Figueroa III, Special Agent, HSI
